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 4                              UNITED STATES DISTRICT COURT
 5                             EASTERN DISTRICT OF CALIFORNIA
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 7
     UNITED STATES OF AMERICA,                      1:06-CR-00365-005 LJO
 8
                  Plaintiff,                        ORDER GRANTING THE DEFENDANT’S
 9                                                  EARLY TERMINATION OF
           vs.                                      SUPERVISED RELEASE
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11
     HUSSEIN ALI,
12
                  Defendant.
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15          In light of the responsive document of the United States filed on January 28, 2019
16   (document 396), coupled with the on-the-record discussion of the pending motion that took place
17   on January 28, 2019, the Defendant's request for early termination is GRANTED.
18
     IT IS SO ORDERED.
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20      Dated:    January 29, 2019                        /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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